Case 1:07-cr-00123-MJT         Document 289           Filed 07/30/08    Page 1 of 1 PageID #: 775

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                     BEAUMONT DIVISION



 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            NO. 1:07-CR-123 (5)
                                                  §
 BRENDA UHUNMWANGHO                               §


        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT


        On this day, the court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Earl S. Hines regarding defendant’s plea of guilty to Count I of the Superseding

 Indictment in the above-numbered case. Having conducted a proceeding in the form and manner

 prescribed by Fed. R. Crim. P. 11, the magistrate judge recommends that the court conditionally

 accept the plea agreement and the guilty plea of defendant. The court is of the opinion that the

 Findings of Fact and Recommendation should be accepted.


        Accordingly, it is ORDERED that the Findings of Fact and Recommendation of the United

 States magistrate judge are ADOPTED.


        It is further ORDERED that the court conditionally accepts the plea agreement as to Count

 I of the Superseding Indictment and will defer its final decision as to acceptance or rejection until

 there has been an opportunity to consider the presentence report.

         SIGNED this the 30 day of July, 2008.




                                        ____________________________
                                        Thad Heartfield
                                        United States District Judge
